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   Asha Vaswani
12
13
                               UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15                                  SOUTHERN DIVISION
16
17 Asha Vaswani,                            Case No.:
18
                        Plaintiff,          COMPLAINT FOR DAMAGES
19
20         vs.                              FOR VIOLATIONS OF:
                                             1. THE FAIR DEBT COLLECTION
21
     Hunter Warfield, Inc.,                  PRACTICES ACT; AND
22                                           2. THE ROSENTHAL FAIR DEBT
                        Defendant.           COLLECTION PRACTICES ACT
23
24                                          JURY TRIAL DEMANDED
25
26
27
28
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 1         Plaintiff, Asha Vaswani (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Hunter Warfield, Inc. (hereafter “Defendant”) and
 3
 4 alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Mission Viejo, California, and
21
     is a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a

24 “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in Bethesda, Maryland, and is a
26
27 “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


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                                                              COMPLAINT FOR DAMAGES
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 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                  ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           9.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
13
14 be owed to a creditor other than Defendant.
15
           10.    Plaintiff’s alleged obligation arises from a transaction in which property,
16
17 services or money was acquired on credit primarily for personal, family or household
18 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
19
     defined by Cal. Civ. Code § 1788.2(f).
20
21         11.    At all times mentioned herein where Defendant communicated with any
22 person via telephone, such communication was done via Defendant’s agent,
23
   representative or employee.
24
25         12.    With the past year, Defendant contacted Plaintiff in an attempt to collect
26
     a debt.
27
28


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                                                              COMPLAINT FOR DAMAGES
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 1         13.    By letter dated and mailed on August 30, 2017, Plaintiff requested that
 2
     Defendant cease all telephone calls.
 3
 4         14.    In complete disregard of Plaintiff’s written cease request, Defendant
 5 continued to call Plaintiff in an attempt to collect the debt.
 6
         15. Defendant’s actions caused Plaintiff to suffer a significant amount of
 7
 8 stress, anxiety, and annoyance.
 9
10                                          COUNT I
11     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
12                         U.S.C. § 1692, et seq.
13         16.    Plaintiff incorporates by reference all of the above paragraphs of this
14
     complaint as though fully stated herein.
15
16         17.    The FDCPA was passed in order to protect consumers from the use of
17
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
18
     practices.
19
20         18.    Defendant attempted to collect a debt from Plaintiff and engaged in
21
     “communications” as defined by 15 U.S.C. § 1692a(2).
22
23         19.    Defendant communicated with Plaintiff after receiving a written notice

24 that Plaintiff refuses to pay the debt and/or that Plaintiff asked Defendant to cease and
25
   desist in further communication, in violation of 15 U.S.C. § 1692c(c).
26
27
28


                                                4
                                                             COMPLAINT FOR DAMAGES
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 1         20.     Defendant engaged in conduct, the natural consequence of which was to
 2
     harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
 3
 4 violation of 15 U.S.C. § 1692d.
 5         21.     The foregoing acts and/or omissions of Defendant constitute violations of
 6
     the FDCPA, including every one of the above-cited provisions.
 7
 8         22.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
 9
     violations.
10
11
                                            COUNT II
12
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
13                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
14
           23.     Plaintiff incorporates by reference all of the above paragraphs of this
15
16 complaint as though fully stated herein.
17
           24.     The Rosenthal Act was passed to prohibit debt collectors from engaging
18
     in unfair and deceptive acts and practices in the collection of consumer debts.
19
20         25.     Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
21
     seq., in violation of Cal. Civ. Code § 1788.17.
22
23         26.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s

24 violations.
25
26                                  PRAYER FOR RELIEF
27         WHEREFORE, Plaintiff prays for judgment against Defendant for:
28
                   A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                                                 5
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 1             B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
 2
               C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
 3
 4             D. Statutory damages of $1,000.00 for knowingly and willfully committing
 5                violations pursuant to Cal. Civ. Code § 1788.30(b);
 6
               E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
 7
 8                § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
 9
               F. Punitive damages; and
10
11             G. Such other and further relief as may be just and proper.

12
                  TRIAL BY JURY DEMANDED ON ALL COUNTS
13
14
15
     DATED: April 27, 2018                    TRINETTE G. KENT
16
17                                           By: /s/ Trinette G. Kent
                                             Trinette G. Kent, Esq.
18                                           Lemberg Law, LLC
19                                           Attorney for Plaintiff, Asha Vaswani
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                                                          COMPLAINT FOR DAMAGES
